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 1   Donald S. Burris (SBN 68523)        Eugene Y. Turin (pro hac vice to be filed)
 2   BURRIS & SCHOENBERG, LLP            McGuire Law, P.C.
     12121 Wilshire Boulevard            55 W. Wacker Dr., 9th Fl.
 3   Suite 504                           Chicago, IL 60601
 4   Los Angeles, CA 90025               Tel: (312) 893-7002 Ex. 3
     Tel: (310) 442-5559                 Fax: 312-275-7895
 5   Fax: (310) 442-0353                 eturin@mcgpc.com
 6   don@bslaw.net

 7   Counsel for Plaintiff and the Putative Class Members
 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11    MARY O’RIORDAN, individually and ) Case No.
      on behalf of similarly situated  )
12
      individuals                      ) CLASS ACTION COMPLAINT
13                                     )
                          Plaintiff,   ) 1. Violation of the Magnusson-
14
                                       )    Moss Warranty Act
15          v.                         ) 2. Breach of Express Warranty
                                       ) 3. Violation of State Consumer
16
      HYUNDAI MOTOR AMERICA, a         )    Protection Laws
17    California corporation,          ) 4. Unjust Enrichment
                                       )
18
                                       ) DEMAND FOR JURY TRIAL
19                       Defendant.    )
                                       )
20
21
                              CLASS ACTION COMPLAINT
22
           Plaintiff Mary O’Riordan bring this Class Action Complaint against
23
     Defendant, Hyundai Motor America (“Hyundai” or “Defendant”) on behalf of a
24
     class of other individuals who purchased Hyundai’s vehicles that had a serious
25
     defect in the vehicle’s wheels that resulted in unsightly discoloration,
26
     delamination, and peeling of the wheel surface. Despite knowledge of this defect,
27
28
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 1
     Defendant has failed to acknowledge its existence and provide a remedy to its
 2
     customers. For her class action complaint, Plaintiff alleges as follows based on
 3
     personal knowledge as to herself and her own acts and experiences, and as to all
 4
     other matters, on information and belief, including an investigation by her
 5
     attorneys.
 6
                                 NATURE OF THE CASE
 7
           1.     This case concerns Hyundai’s manufacturing and sale of vehicles that
 8
     had severely defective wheels. The defect on the vehicles at issue caused the wheel
 9
     surface to delaminate and peel, resulting in an unsightly appearance and affects
10
     vehicle value. Defendant has failed to disclose that the defect existed at the time
11
     the vehicles were sold and has since refused to repair the defective wheels.
12
           2.     Like the other members of the putative Class, Plaintiff purchased a
13
     Hyundai vehicle with the wheel defect. After just three years of ownership, Plantiff
14
     observed significant damage to the wheels on her vehicle as a result of the wheel
15
     defect and contacted one of Defendant’s dealerships to have the defect repaired.
16
     However, consistent with Defendant’s common practice for the vehicles with the
17
     wheel defect at issue, Plaintiff was declined any relief, even though Defendant was
18
     aware of the problem through numerous other identical complaints by vehicle
19
     owners.
20
           3.     Defendant’s conduct in manufacturing and selling vehicles with
21
     defective wheels and refusing to repair the defect when presented with the problem
22
     is deceptive, misleading, and in violation of its own express warranty, and Plaintiff
23
     and other consumers have suffered injury-in-fact as a result of Defendant’s
24
     conduct.
25
           4.     As such, Plaintiff Mary O’Riordan, individually and on behalf of all
26
     others similarly situated, brings this Class Action Complaint as a result of the
27
28
     Class Action Complaint                   2               Case No.
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 1
     unlawful and deceptive actions of Defendant with respect to the defective wheels it
 2
     provided on its vehicles.
 3
                                 JURISDICTION AND VENUE
 4
           5.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §
 5
     1332, because this is a class action, as defined by 28 U.S.C. § 1332(d)(1)(B), in
 6
     which a member of the putative class is a citizen of a different state than
 7
     Defendant, and the amount in controversy exceeds the sum or value of $5,000,000,
 8
     excluding interest and costs. See 28 U.S.C. § 1332(d)(2).
 9
           6.     This Court has personal jurisdiction over Defendant and venue is
10
     proper in this Court because Defendant is incorporated and maintains its
11
     headquarters in this District.
12
                                          PARTIES
13
           7.     Plaintiff is a resident of New York.
14
           8.     Defendant Hyundai Motor America is a California corporation, with
15
     its principal place of business located in Fountain Valley, California. Defendant
16
     designs manufactures, markets, distributes, services, repairs, sells, and leases
17
     passenger vehicles, including the vehicles at issue in this suit, throughout the
18
     United States, including in this District. Defendant is the warrantor and distributor
19
     and/or seller of the vehicles purchased by Plaintiff and the other members of the
20
     Class in the United States.
21
                          COMMON FACTUAL ALLEGATIONS
22
           9.     Hyundai is one of the largest manufacturers of vehicles in the United
23
     States, selling over 600,000 vehicles in the United States annualy.
24
           10.    Unlike tires, batteries, and engine oil, which need regular
25
     replacement, in modern vehicles the wheels are expected to remain in their original
26
     condition for the lifetime of the vehicle such that absent abuse a vehicle owner
27
28
     Class Action Complaint                   3               Case No.
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 1
     reasonably would not expect to have to replace or repair them during the
 2
     ownership of the car.
 3
              11.   Hyundai, however, has manufactured, marketed, distributed, and sold
 4
     its vehicles with defective wheels that leave vehicle owners with a vehicle whose
 5
     wheels look unsightly as a result of large patches of the wheel surface peeling off.
 6
              12.   The circumstances causing Hyundai’s vehicles to have the wheel
 7
     surface peel off is attributable to a defect that existed at the time of the original
 8
     factory manufacture and appears to be caused by a defect that prevents the
 9
     protective surface coating on the wheel from properly adhering to the underlying
10
     metal.
11
              13.   Due to its nature, however, the defect is a latent one that could not
12
     have been reasonably discovered by a consumer when purchasing the vehicle.
13
     Instead, consumers are first made aware of the wheel defect after they have taken
14
     delivery of the vehicle and the wheel surface begins to disintegrage over the course
15
     of their ownership of the vehicle.
16
              14.   This wheel defect is present across multiple models of vehicles
17
     manufactured and sold by Hyundai, including specifically 2017 and newer
18
     Hyundai Santa Fe minivans and 2017 and newer Hyundai Veloster vehicles.
19
              15.   The wheel defect on Hyundai’s Santa Fe, Veloster, and other vehicles,
20
     is widespread. Indeed even a cursory Internet search reveals dozens of comments
21
     and complaints which detail consumers’ common experiences with Hyundai’s
22
     defective wheels. For example, on June 14, 2019, a user on “Veloster.org” posted a
23
     the following message and accompanying photograph regarding their Hyundai
24
     Veloster:
25
26            These are the B-Type rims that Hyundai sells with the 2019 R-Spec in
27            the US and the performance package in Canada. The car is about 10

28
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 1           months old and they've never seen snow or salt or anything of that sort
 2           (I run a dedicated set of winter rims). Today I noticed that on two of
             the rims the clear coat finish is starting to delaminate. Anyone else
 3           seeing this?1
 4
 5
 6
 7
 8
 9
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15
16
             16.   A number of other users responding to the original post reported their
17
     own issues with their Hyundai Veloster wheels suffering from the same wheel
18
     defect despite having owned their vehicle for less than a year.
19
             17.   However, the wheel defect is not limited to just Hyundai’s Veloster
20
     vehicles, and affects a number of other Hyundai vehicles as well, as evidenced by
21
     the below user’s online comment regarding their 2020 Hyundai Santa Fe:
22
23
             I have a 2020 Santa Fe with slightly over 6K miles & garaged... just
24           noticed that the front, driver's side wheel is peeling in several spots. It
             kinda looks like plastic film that you would see when you get a new
25
26
     1
27       www.veloster.org/threads/clear-coat-delaminating-on-rim.89620/.

28
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 1         appliance; I've never seen that before with other vehicles and the other
 2         3 wheels are fine.2

 3
 4
 5
 6
 7
 8
 9
10
11
12
13
           18.    The posts quoted above are just a small sampling of the dozens of
14
     consumer complaints on forums and online websites where owners of Hyundai
15
     vehicles have voiced complaints about their defective wheels over a span of
16
     multiple years, going as far back as 2017 and including prior to Plaintiff’s purchase
17
     of her vehicle.
18
           19.    Despite its knowledge, Hyundai failed to make any disclosure about
19
     this wheel defect to unsuspecting consumers purchasing its vehicles and has failed
20
     to provide any remedy to consumers whose vehicles have manifested the defect.
21
            FACTUAL ALLEGATIONS WITH RESPECT TO PLAINTIFF
22
           20.    Hyundai heavily advertises that its vehicles come with “America’s
23
     Best Warranty” including a 5-year/60,000-Mile new vehicle warranty.3
24
25   2
       www.hyundaiforum.com/forum/hyundai-santa-fe-20/2020-santa-fe-wheel-
26   peeling-18987/.
     3
27     www.hyundaiusa.com/us/en/assurance/america-best-warranty.

28
     Class Action Complaint                   6               Case No.
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 1
           21.    Plaintiff was aware of Hyundai’s new vehicle warranty and relied on
 2
     Hyundai’s representations that it would provide coverage for any defects that
 3
     might arise within the warranty period given that it was advertised as “America’s
 4
     Best” warranty when she chose to purchase a new 2017 Hyundai Veloster in June
 5
     2018 from City World Hyundai, in Bronx, New York.
 6
           22.    Just three years later, and with just 52,000 miles on her vehicle, in
 7
     May 2021, Plaintiff noticed that the wheel surface on her Hyundai Veloster began
 8
     to peel as pictured below.
 9
10
11
12
13
14
15
           23.    After noticing the wheel defect on her vehicle, in June 2021 Plaintiff
16
     visited the dealership where she purchased the vehicle on two separate occasions to
17
     request that they fix the defect under warranty. On both occasions the dealership
18
     did not offer any remedy or relief to Plaintiff and did not agree to fix the defect
19
     even though Plaintiff’s vehicle was still within the 5-year/60,000 mile new vehicle
20
     warranty.
21
           24.    Critically, at the time that Plaintiff complained about the wheel defect
22
     to the dealership and requested a warranty repair, Hyundai and its authorized,
23
     Hyundai brand dealers already knew, but did not disclose to Plaintiff or other
24
     purchasers of its vehicles that there was a latent defect or problem with the surface
25
     finish of the wheels on its vehicles that caused the same exact issue that Plaintiff
26
     was experiencing. Hyundai has instead denied responsibility for the wheel defect
27
28
     Class Action Complaint                   7               Case No.
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 1
     that Plaintiff and the other putative Class members have experienced on their
 2
     vehicles.
 3
              25.    The wheel defect experienced by Plaintiff and the other putative Class
 4
     members who purchased Hyundai’s vehicles did not conform to industry standards
 5
     as the wheel surfaces on a vehicle are typically expected to last for the lifetime of
 6
     the vehicle. The longevity of the wheels on Plaintiff’s and the other putative Class
 7
     members’ vehicles, along with the other exterior surfaces of the vehicle, were a
 8
     basis of the bargain for their purchases of Hyundai’s vehicles, and Plaintiff and the
 9
     other Class members would not have purchased Hyundai’s vehicles at the prices
10
     that they paid had they known that the wheels on their vehicles would degrade and
11
     peel.
12
              26.    Furthermore, Plaintiff and the other putative class members
13
     reasonably expected that such a defect would be covered by Hyundai’s “America’s
14
     Best” warranty that provides a “5-year/60,000” mile “New Vehicle” warranty that
15
     “covers repair or replacement of any component manufactured or originally
16
     installed by Hyundai that is defective in material or factory workmanship, under
17
     normal use and maintenance.”4 Had Plaintiff and the other putative Class members
18
     known that Hyundai would deny warranty claims made within the “New Vehicle”
19
     warranty period they would not have purchased Hyundai’s vehicles at the prices
20
     that they paid.
21
                                      CLASS ALLEGATIONS
22
              27.    Plaintiff brings this action on her own behalf and on behalf of a
23
     nationwide class (the “Class”) defined as follows: All persons who, within the
24
     applicable statute of limitations, and as shown by Defendant’s records, purchased a
25
     new or used Hyundai brand vehicle that exhibited degradation of the wheel surface
26
     4
27       https://www.hyundaiusa.com/us/en/assurance/america-best-warranty.

28
     Class Action Complaint                         8                Case No.
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 1
     within the new vehicle warranty period.
 2
           28.    Plaintiff will fairly and adequately represent and protect the interests
 3
     of the other Class members. Plaintiff has retained counsel with substantial
 4
     experience in prosecuting complex litigation and class actions. Plaintiff and her
 5
     counsel are committed to vigorously prosecuting this action on behalf of the other
 6
     Class members, and have the financial resources to do so. Neither Plaintiff nor her
 7
     counsel have any interest adverse to those of the other members of the Class.
 8
           29.    Absent a class action, most Class members would find the cost of
 9
     litigating their claims to be prohibitive and would have no effective remedy. The
10
     class treatment of common questions of law and fact is superior to multiple
11
     individual actions or piecemeal litigation in that it conserves the resources of the
12
     courts and the litigants, and promotes consistency and efficiency of adjudication.
13
           30.    Defendant has acted and failed to act on grounds generally applicable
14
     to the Plaintiff and the Class members, requiring the Court’s imposition of uniform
15
     relief to ensure compatible standards of conduct toward the Class members, and
16
     making injunctive or corresponding declaratory relief appropriate for the Class as a
17
     whole.
18
           31.    The factual and legal bases of Defendant’s liability to Plaintiff and to
19
     the other Class members are the same, resulting in injury to the Plaintiff and to all
20
     of the other members of the Class. Plaintiff and the other members of the Class
21
     have suffered harm and damages as a result of Defendant’s unlawful and wrongful
22
     conduct.
23
           32.    Upon information and belief, there are hundreds, if not thousands, of
24
     Class members such that joinder of all members is impracticable.
25
           33.    There are many questions of law and fact common to the claims of
26
     Plaintiff and the other Class members, and those questions predominate over any
27
28
     Class Action Complaint                    9              Case No.
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 1
     questions that may affect individual members of the Class. Common questions for
 2
     the Class include, but are not limited to, the following:
 3
           (a)    Was there a latent defect in the wheels of the Hyundai vehicles
 4
                  purchased by Plaintiff and the other Class members?
 5
           (b)    Did Hyundai warrant or otherwise represent that its vehicles would be
 6
                  free from the wheel defect experienced by Palintiff and the other
 7
                  Class members?
 8
           (c)    Did Hyundai knowingly fail to disclose to Plaintiff and the other Class
 9
                  members the existence and cause of the wheel defect they experienced
10
                  on their vehicles?
11
           (d)    Did Hyundai continue to manufacture, market, distribute, supply and
12
                  sell vehicles with the alleged wheel defect even after becoming aware
13
                  of such defect?
14
           (e)    Did the wheel defect experienced by Plaintiff and the other Class
15
                  members fall within the “New Vehicle” warranty advertised and
16
                  provided by Hyundai?
17
           (f)    Did Hyundai fail to provide an adequate remedy to Plaintiff and the
18
                  other Class members for the wheel defect that they experienced on
19
                  their vehicles?
20
           (g)    Are Plaintiff and the other Class members entitled to monetary,
21
                  restitutionary, and/or injunctive relief or other remedies, and, if so,
22
                 what should be the nature of such remedies?
23                                    COUNT ONE
24      Violation of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301, et seq.
                          (on behalf of Plaintiff and the Class)
25
           34.    Plaintiff hereby incorporates the above allegations by reference as
26
     though fully set forth herein.
27
28
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 1
           35.    Plaintiff and the other members of the Class are “consumers” within
 2
     the meaning of 15 U.S. § 2301(3).
 3
           36.    Defendant is a “supplier” and “warrantor” within the meanings of
 4
     sections 15 U.S. § 2301(4)–(5).
 5
           37.    Hyundai’s vehicles purchased by the Class are “consumer products”
 6
     within the meaning of 15 U.S. §2301(1).
 7
           38.    15 U.S. §2310(d)(1) provides a cause of action for any consumer who
 8
     is damaged by the failure of a warrantor to comply with an express written
 9
     warranty.
10
           39.    Plaintiff, as well as the other Class members, contracted with
11
     Defendant Hyundai, through Defendant’s agents, to purchase its vehicles, and paid
12
     significant consideration in the form of the purchase price for the vehicles.
13
           40.    Each vehicle purchased by Plaintiff and the other Class members
14
     came with Hyundai’s “America’s Best” 5-year/60,000 mile “new vehicle” express
15
     written warranty which provided that Hyundai would “repair or replace[] any
16
     component manufactured or originally installed by Hyundai that is defective in
17
     material or factory workmanship, under normal use and maintenance.”
18
           41.    Plaintiff and the other members of the Class purchased vehicles that
19
     had wheels that were “defective” in that the wheel surfaces would begin to peel
20
     and disintegrate under normal use and maintenance within the new vehicle
21
     warranty period.
22
           42.    However, Defendant breached its express warranty, as Defendant has
23
     failed to provide a remedy to Plaintiff and the other Class members to repair the
24
     defective wheels on their vehicles.
25
           43.    Plaintiff, as well as numerous other members of the Class, have
26
     specifically informed Defendant about its breach of its express warranty and
27
28
     Class Action Complaint                   11               Case No.
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 1
     afforded it a reasonable time to cure its breach. Under the circumstances, any
 2
     requirement for the other members of the Class to afford Defendant any additional
 3
     reasonable opportunity to cure its breach of its express warranty should be excused
 4
     and deemed satisfied.
 5
           44.    Defendant’s breach of warranty deprived Plaintiff and the other
 6
     members of the Class of the benefit of their bargain, as the quality and durability of
 7
     their vehicles’ wheels, and the appearance of their vehicles over their lifetime, was
 8
     material to their decision to purchase the vehicle. Furthermore, Plaintiff and the
 9
     other members of the Class purchased Hyundai’s vehicles with the reasonable
10
     expectation that any defects such as the wheel defect they experienced would be
11
     covered and repaired under Hyundai’s new vehicle warranty which thus also
12
     formed the basis of the bargain with Hyundai.
13
           45.    As a proximate and foreseeable result of Defendant’s breach, Plaintiff
14
     and the other members of the Class have and/or will sustain damages and loss.
15
     These damages include, but are not limited to: the loss of value of the vehicle as a
16
     result of the wheel defect; expectation damages for Plaintiff and members of the
17
     Class a because they did not obtain the benefit of the bargain they struck with
18
     Defendant; and any further damages that Plaintiff and the other members of the
19
     Class have or will incur in order to remedy the wheel defect.
20
           46.     The amount in controversy of Plaintiff’s individual claims meets or
21
     exceeds the sum or value of $25. In addition, the amount in controversy meets or
22
     exceeds the sum or value of $50,000 (exclusive of interest and costs) computed on
23
     the basis of all claims to be determined in this suit.
24                                       COUNT TWO
25                         Violation of Consumer Protection Laws
                             (on behalf of Plaintiff and the Class)
26
           47.    Plaintiff hereby incorporates the above allegations by reference as
27
28
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 1
     though fully set forth herein.
 2
           48.     The New York Deceptive Acts and Practices Act, NYGBL § 349, as
 3
     well as other materially identical consumer fraud statutes enacted by states
 4
     throughout the country, prohibit deceptive acts and practices in the sale of products
 5
     such as Defendant’s vehicles.
 6
           49.    Defendant manufactured, marketed, and sold vehicles purchased by
 7
     Plaintiff and the other members of the Class that contained a latent defect or
 8
     defects in the vehicles’ wheels which caused the wheel surface to delaminate, peel,
 9
     and otherwise become damaged shortly after their purchase of the vehicle.
10
           50.      Defendant had superior knowledge of the wheel defect that existed
11
     and still exists on the vehicles purchased by Plaintiff and the other Class members,
12
     given that Defendant designed and manufactured, or directed the manufacturing, of
13
     the wheels that were installed on their vehicles, and given that Defendant was
14
     aware of a significant number of customer complaints over an extended period of
15
     time regarding the wheel defect, including complaints prior to the sale of the
16
     vehicle purchased by Plaintiff. As such, Defendant had a duty to disclose to
17
     Plaintiff and the members of the Class any material information involving the
18
     existence and extent of the wheel defect.
19
           51.     However, Defendant intentionally concealed, misrepresented and/or
20
     omitted material facts from Plaintiff and the members of the Class about the defect
21
     in the wheels of their vehicles in an effort to induce Plaintiff and the members of
22
     the Class to purchase the vehicles at a higher price than Plaintiff and the members
23
     of the Class would have otherwise paid had the defect been properly and
24
     appropriately disclosed.
25
           52.    Furthermore, Defendant advertised that the vehicles purchased by
26
     Plaintiff and the other members of the Class would come with a 5-year/60,000 mile
27
28
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 1
     “America’s Best” warranty that would provide for the “repair or replacement of
 2
     any component manufactured or originally installed by Hyundai that is defective in
 3
     material or factory workmanship, under normal use and maintenance.”
 4
           53.    However, Defendant has failed to honor its express warranty and has
 5
     not repaired or replaced Plaintiff’s and the other Class Members’ defective wheels,
 6
     has not acknowledged the wheel defect, and has not implemented any other
 7
     remedy including offering any compensation.
 8
           54.    Defendant’s conduct is in violation of NYGBL § 349 and other states’
 9
     consumer protection laws, and pursuant to NYGBL § 349 and other such states’
10
     consumer protection laws, Plaintiff and the other members of the Class are entitled
11
     to damages in an amount to be proven at trial, reasonable attorney’s fees,
12
     injunctive relief prohibiting Defendant’s unfair and deceptive practices going
13
     forward, and any other penalties or awards that may be appropriate under
14
     applicable law.
15                                     COUNT THREE
16                                Breach of Express Warranty
                              (on behalf of Plaintiff and the Class)
17
           55.    Plaintiff hereby incorporates the above allegations by reference as
18
     though fully set forth herein.
19
           56.    At the time Plaintiff purchased her Hyundai vehicle in June 2018,
20
     Plaintiff received certain express warranties from Hyundai, including a 5-
21
     year/60,000 mile “new vehicle” warranty that promised to “repair or replace[] any
22
     component manufactured or originally installed by Hyundai that is defective in
23
     material or factory workmanship, under normal use and maintenance.”
24
           57.    This warranty was part of the basis of the bargain between Hyundai
25
     and Plaintiff and the other members of the Class.
26
           58.    Despite its knowledge of the wheel defect that Plaintiff and the other
27
28
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 1
     members of the Class experienced, Defendant did not honor its express warranty,
 2
     and did not repair the defect in Plaintiff’s vehicle, or the vehicles of the other Class
 3
     members.
 4
           59.    Defendant has been provided notice of the wheel defect in the
 5
     vehicles purchased by Plaintiff and the other Class members through numerous
 6
     complaints made to it directly and through public postings, through Plaintiff’s
 7
     commencement of this litigation and multiple visits to, and requests for repair at,
 8
     the Hyundai dealership where she purchased the vehicle, and, on information and
 9
     belief, internal knowledge based on testing and internal analysis.
10
           60.    Defendant has failed to honor its express warranty, resulting in
11
     damage to Plaintiff and the other members of the Class in an amount to be
12
     determined at trial.
13                                       COUNT FOUR
14                                    Unjust Enrichment
                              (on behalf of Plaintiff and the Class)
15
           61.    Plaintiff hereby incorporates the above allegations by reference as
16
     though fully set forth herein.
17
           62.    Defendant knew of the wheel defect affecting Plaintiff’s and the other
18
     Class Members’ vehicles at the time the vehicles were distributed to its dealerships
19
     and sold to Plaintiff and the other Class members.
20
           63.    Despite having knowledge of the defect, Defendant failed to disclose
21
     the existence of the defect to Plaintiff and the other Class members at or prior to
22
     the time of the sale of the vehicles and has failed to conduct any product recall or
23
     otherwise notify purchasers or potential purchasers of the defect.
24
           64.    Furthermore, Plaintiff and the other members of the Class purchased
25
     Defendant’s vehicles in part based on Defendant’s representations regarding the
26
     quality and extent of its “new vehicle” warranty and its coverage for any defects in
27
28
     Class Action Complaint                    15               Case No.
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 1
     the vehicles they purchased.
 2
           65.    Defendant accepted and retained non-gratuitous benefits conferred by
 3
     Plaintiff and the other Class members, who, without knowledge of the wheel defect
 4
     and that Defendant’s warranty would not provide coverage to repair it, paid a
 5
     higher price for their vehicles than their actual lower value. Plaintiff and the other
 6
     Class members did not confer these benefits gratuitiously, and it would be
 7
     inequitable and unjust for Defendant to retain these wrongfully-obtained profits.
 8
           66.    Plaintiff and the other Class members are therefor entitled to
 9
     restitution in an amount to be determined at trial.
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                                    PRAYER FOR RELIEF
11
           WHEREFORE, Plaintiff, on behalf of herself and the Class, prays for the
12
     following relief:
13
           1.     An order certifying the Class as defined above;
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           2.     A declaration that Defendant breached its express warranty, both
15
                  through Magnusson-Moss and through common law, to Plaintiff and
16
                  the Class members;
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           3.     Notification to all Class members about the wheel defect;
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           4.     An award to Plaintiff and the Class of actual, compensatory, and
19
                  punitive damages, as proven at trial;
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           5.     Restitution and/or disgorgement from Defendant in an amount to be
21
                  determined at trial;
22
           4.     An award of her attorneys’ fees and costs;
23
           6.     An injunction barring Defendant from continuing to distribute, supply,
24
                  market, and sell its defective vehicles until Defendant has remedied
25
                  the defects complained of; and
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           7.     Such further and other relief the Court deems reasonable and just.
27
28
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 1
                                       JURY DEMAND
 2
           Plaintiff requests trial by jury of all claims that can be so tried.
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 4
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 6
     DATED: July ___, 2021                   Respectfully submitted,
 7
                                             MARY O’RIORDAN, individually and on
 8                                           behalf of similarly situated individuals
 9
                                             By: /s/
10
11
                                             Donald S. Burris (SBN 68523)
12                                           BURRIS & SCHOENBERG, LLP
13                                           12121 Wilshire Boulevard
                                             Suite 800
14                                           Los Angeles, CA 90025
15                                           Tel: (310) 442-5559
                                             Fax: (310) 442-0353
16
                                             don@bslaw.net
17
                                             Eugene Y. Turin
18
                                             (pro hac vice to be filed)
19                                           MCGUIRE LAW, P.C.
                                             55 W. Wacker Dr., 9th Fl.
20
                                             Chicago, IL 60601
21                                           Tel: (312) 893-7002 Ex. 3
                                             Fax: 312-275-7895
22
                                             eturin@mcgpc.com
23
                                             Counsel for Plaintiff and the
24
                                             Putative Class Members
25
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28
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